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                 EXHIBIT 5
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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

  ROBERT ANDREW FFRENCH,

         Plaintiff,                                        Civil Action No.: 1:20-cv-03178

  v.                                                       Judge Matthew F. Kennelly

  THE PARTNERSHIPS AND UNINCORPORATED
  ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

         Defendants.


                      SEALED TEMPORARY RESTRAINING ORDER

       THIS CAUSE being before the Court on Plaintiff, Plaintiff, ROBERT ANDREW

FFRENCH, (“FFRENCH” or “Plaintiff”) Ex Parte Motion for Entry of a Temporary Restraining

Order, Including a Temporary Injunction, a Temporary Asset Restraint, Expedited Discovery,

and Service of Process by Email and Electronic Publication (the "Ex Parte Motion") against the

defendants identified on Schedule A to the Complaint and attached hereto (collectively, the

"Defendants") and using at least the online marketplace accounts identified in Schedule A (the

“Online Marketplace Accounts”), and this Court having heard the evidence before it hereby

GRANTS Plaintiff's Ex Parte Motion in its entirety.

       This Court further finds that it has personal jurisdiction over the Defendants since the

Defendants directly target their business activities toward consumers in the United States,

including Illinois, offering to sell and ship products into this Judicial District. Specifically,

Defendants are reaching out to do business with Illinois residents by operating one or more

commercial, interactive Internet Stores through which Illinois residents can purchase products
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bearing counterfeit versions of the SHOTLOC Trademarks, which are covered by U.S.

Trademark Registration Nos. 4,218,495 and 6,023,219.

       This Court also finds that issuing this Order without notice pursuant to Rule 65(b)(1) of

the Federal Rules of Civil Procedure is appropriate because Plaintiff has presented specific facts

in the Declaration of Robert Andrew Ffrench paragraphs 15-24, and the Declaration of Keith A.

Vogt, paragraphs 5-11, and accompanying evidence clearly showing that immediate and

irreparable injury, loss, or damage will result to the movant before the adverse party can be heard

in opposition. Specifically, in the absence of an ex parte Order, Defendants could and likely

would modify registration data and content, redirect traffic to other websites/stores in their

control, and move any assets from accounts in U.S.-based financial institutions, including, but

not limited to, PayPal accounts, to offshore accounts. Id. As other courts have recognized,

proceedings against those who deliberately traffic in counterfeit merchandise are often useless if

notice is given to the adverse party. Accordingly, this Court orders that:

       1.      Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under or in active concert with them

be temporarily enjoined and restrained from:

        a. using Plaintiff's SHOTLOC Trademarks or any reproductions, counterfeit

            copies or colorable imitations thereof in any manner in connection with the

            distribution, marketing, advertising, offering for sale, or sale of any product

            that is not a genuine SHOTLOC product or not authorized by Plaintiff to be

            sold in connection with Plaintiff's SHOTLOC Trademarks;

       b.   passing off, inducing, or enabling others to sell or pass off any product as a

            genuine SHOTLOC product or any other product produced by Plaintiff, that
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            is not Plaintiff’s or not produced under the authorization, control or

            supervision of Plaintiff and approved by Plaintiff for sale under Plaintiff's

            SHOTLOC Trademarks;

       c.   committing any acts calculated to cause consumers to believe that Defendants'

            products are those sold under the authorization, control or supervision of

            Plaintiff, or are sponsored by, approved by, or otherwise connected with

            Plaintiff;

       d.   further infringing Plaintiff's SHOTLOC Trademarks and damaging Plaintiff's

            goodwill;

       e.   otherwise competing unfairly with Plaintiff in any manner;

       f.   shipping, delivering, holding for sale, transferring or otherwise moving,

            storing, distributing, returning, or otherwise disposing of, in any manner,

            products or inventory not manufactured by or for Plaintiff, nor authorized by

            Plaintiff to be sold or offered for sale, and which bear any of Plaintiff's

            SHOTLOC Trademarks or any reproductions, counterfeit copies or colorable

            imitations thereof; and

       g.   using, linking to, transferring, selling, exercising control over, or otherwise

            owning the online marketplace accounts, or any domain name or other Online

            Marketplace Account that is being used to sell or is the means by which

            Defendants could continue to sell Counterfeit SHOTLOC Products.

       2.      Those in privity with Defendants and with actual notice of this Order, including

any online marketplaces such as, but not limited to, Alibaba Group Holding Ltd., Alipay.com

Co., Ltd. and any related Alibaba entities (collectively, "Alibaba"), social media platforms,
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Facebook, YouTube, LinkedIn, Twitter, Internet search engines such as Google, Bing and

Yahoo, shall within three (3) business days of receipt of this Order:

        a. disable and cease providing services for any accounts through which

             Defendants engage in the sale of counterfeit and infringing goods using the

             SHOTLOC Trademarks, including any accounts associated with the

             Defendants listed on Schedule A;

        b. disable and cease displaying any advertisements used by or associated with

             Defendants in connection with the sale of counterfeit and infringing goods

             using the SHOTLOC Trademarks; and

        c. take all steps necessary to prevent links to the Defendant Online Marketplace

             Accounts on Schedule A from displaying in search results, including, but not

             limited to, removing links to the Defendant Online Marketplace Accounts

             from any search index.

        3.      Defendants and any third party with actual notice of this Order who is providing

services for any of the Defendants, or in connection with any other websites operated by

Defendants, including, without limitation, any online marketplace platforms such as Alibaba,

advertisers, Facebook, Internet Service Providers ("ISP"), web hosts, back-end service providers,

web designers, sponsored search engine or ad-word providers, banks, merchant account

providers, including PayPal, Amazon, Alibaba, DHGate, third party processors and other

payment processing service providers, shippers, and domain name registrars (collectively, the

"Third Party Providers") shall, within five (5) business days after receipt of such notice, provide

to Plaintiff expedited discovery, including copies of all documents and records in such person's

or entity's possession or control relating to:
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       a. The identities and locations of Defendants, their agents, servants, employees,

            confederates, attorneys, and any persons acting in concert or participation with

            them, including all known contact information;

        b. the nature of Defendants' operations and all associated sales and financial

            information, including, without limitation, identifying information associated

            with the Online Marketplace Accounts, and Defendants' financial accounts, as

            well as providing a full accounting of Defendants' sales and listing history

            related to their respective Online Marketplace Accounts;

        c. Defendants' websites and/or any online marketplace accounts; and

        d. Any financial accounts owned or controlled by Defendants, including their

            agents, servants, employees, confederates, attorneys, and any persons acting in

            concert or participation with them, including such accounts residing with or

            under the control of any banks, savings and loan associations, payment

            processors or other financial institutions, including, without limitation,

            PayPal, Amazon, Alibaba, DHGate, or other merchant account providers,

            payment providers, third party processors, and credit card associations (e.g.,

            MasterCard and VISA).

       4.       Defendants and any persons in active concert or participation with them who have

actual notice of this Order shall be temporarily restrained and enjoined from transferring or

disposing of any money or other of Defendants' assets until further ordered by this Court.

       5.       PayPal, Inc. ("PayPal") shall, within two (2) business days of receipt of this

Order, for any Defendant or any of Defendants' online marketplace accounts or websites:
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            a. Locate all accounts and funds connected to and related to Defendants, Defendants'

               online marketplace accounts, including, but not limited to, any PayPal accounts

               connected to and related to the information listed in Schedule A hereto and the email

               addresses identified in Exhibit 2 to the Declaration of Robert Andrew Ffrench; and

            b. Restrain and enjoin any such accounts or funds from transferring or disposing of

               any money or other of Defendants' assets until further ordered by this Court.

       6.      Amazon Payments, Inc. (“Amazon”) and its related companies and affiliates shall,

within two (2) business days of receipt of this Order, identify and restrain all funds, as opposed

to ongoing account activity, in or which hereafter are transmitted into the Amazon accounts

related to Defendants as identified on Schedule “A” hereto, as well as all funds in or which are

transmitted into (i) any other accounts of the same customer(s), (ii) any other accounts which

transfer funds into the same financial institution account(s), and/or any of the other Amazon

accounts subject to this Order; and (iii) any other Amazon accounts tied to or used by any of the

Seller IDs identified on Schedule “A” hereto; Amazon shall further, provide Plaintiff’s counsel

with all data which details (i) an accounting of the total funds restrained and identifies the

financial account(s) which the restrained funds are related to, and (ii) the account transactions

related to all funds transmitted into the financial account(s) which have been restrained. Such

restraining of the funds and the disclosure of the related financial institution account information

shall be made without notice to the account owners until after those accounts are restrained. No

funds restrained by this Order shall be transferred or surrendered by Amazon for any purpose

(other than pursuant to a chargeback made pursuant to Amazon’s security interest in the funds)

without the express authorization of this Court;
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       7.      ContextLogic, Inc. (“WISH”) and its related companies and affiliates shall, within

two (2) business days of receipt of this Order, identify and restrain all funds, as opposed to

ongoing account activity, in or which hereafter are transmitted into the WISH accounts related

to Defendants as identified on Schedule “A” hereto, as well as all funds in or which are

transmitted into (i) any other accounts of the same customer(s), (ii) any other accounts which

transfer funds into the same financial institution account(s), and/or any of the other WISH

accounts subject to this Order; and (iii) any other WISH accounts tied to or used by any of the

sellers identified on Schedule “A” hereto; WISH shall further, provide Plaintiff’s counsel with all

data which details (i) an accounting of the total funds restrained and identifies the financial

account(s) which the restrained funds are related to, and (ii) the account transactions related to all

funds transmitted into the financial account(s) which have been restrained. Such restraining of

the funds and the disclosure of the related financial institution account information shall be made

without notice to the account owners until after those accounts are restrained. No funds

restrained by this Order shall be transferred or surrendered by WISH for any purpose (other than

pursuant to a chargeback made pursuant to WISH’s security interest in the funds) without the

express authorization of this Court;

       8.      ALIPAY US, INC. (“ALIPAY”) and its related companies and affiliates including

but not limited to ALIBABA GROUP HOLDING LTD. (“ALIBABA”), shall, within two (2)

business days of receipt of this Order, identify and restrain all funds, as opposed to ongoing

account activity, in or which hereafter are transmitted into the ALIPAY accounts related to

Defendants as identified on Schedule “A” hereto, as well as all funds in or which are transmitted

into (i) any other accounts of the same customer(s), (ii) any other accounts which transfer funds

into the same financial institution account(s), and/or any of the other ALIPAY accounts subject
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to this Order; and (iii) any other ALIPAY accounts tied to or used by any of the sellers identified

on Schedule “A” hereto; ALIPAY shall further, provide Plaintiff’s counsel with all data which

details (i) an accounting of the total funds restrained and identifies the financial account(s) which

the restrained funds are related to, and (ii) the account transactions related to all funds

transmitted into the financial account(s) which have been restrained. Such restraining of the

funds and the disclosure of the related financial institution account information shall be made

without notice to the account owners until after those accounts are restrained. No funds

restrained by this Order shall be transferred or surrendered by ALIPAY for any purpose (other

than pursuant to a chargeback made pursuant to ALIPAY’s security interest in the funds) without

the express authorization of this Court;

       9.      eBay, Inc. (“eBay”) and its related companies and affiliates shall, within two (2)

business days of receipt of this Order, identify and restrain all accounts and funds, as opposed to

ongoing account activity, in or which hereafter are transmitted into the eBay accounts related to

Defendants as identified on Schedule “A” hereto, as well as all funds in or which are transmitted

into (i) any other accounts of the same customer(s), (ii) any other accounts which transfer funds

into the same financial institution account(s), and/or any of the other eBay accounts subject to

this Order; and (iii) any other eBay accounts tied to or used by any of the sellers identified on

Schedule “A” hereto; eBay shall further, provide Plaintiff’s counsel with all data which details

(i) an accounting of the total funds restrained and identifies the financial account(s) which the

restrained funds are related to, and (ii) the account transactions related to all funds transmitted

into the financial account(s) which have been restrained. Such restraining of the funds and the

disclosure of the related financial institution account information shall be made without notice to

the account owners until after those accounts are restrained. No funds restrained by this Order
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shall be transferred or surrendered by eBay for any purpose (other than pursuant to a chargeback

made pursuant to eBay’s security interest in the funds) without the express authorization of this

Court;
         10.   Heguang     International   Limited    or   Dunhuang     Group      d/b/a   DHGATE,

DHGate.com, DHPORT, DHLINK and DHPAY (“DHGate”) and its related companies and

affiliates shall, within two (2) business days of receipt of this Order, identify and restrain all

accounts and funds, as opposed to ongoing account activity, in or which hereafter are transmitted

into the DHGate accounts related to Defendants as identified on Schedule “A” hereto, as well as

all funds in or which are transmitted into (i) any other accounts of the same customer(s), (ii) any

other accounts which transfer funds into the same financial institution account(s), and/or any of

the other DHGate accounts subject to this Order; and (iii) any other DHGate accounts tied to or

used by any of the sellers identified on Schedule “A” hereto; DHGate shall further, provide

Plaintiff’s counsel with all data which details (i) an accounting of the total funds restrained and

identifies the financial account(s) which the restrained funds are related to, and (ii) the account

transactions related to all funds transmitted into the financial account(s) which have been

restrained. Such restraining of the funds and the disclosure of the related financial institution

account information shall be made without notice to the account owners until after those

accounts are restrained. No funds restrained by this Order shall be transferred or surrendered by

DHGate for any purpose (other than pursuant to a chargeback made pursuant to DHGate’s

security interest in the funds) without the express authorization of this Court;

         11.   Any banks, savings and loan associations, payment processors, or other financial

institutions, for any Defendant or any of Defendants' online marketplace accounts or websites,

shall within two (2) business days of receipt of this Order:
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             a. Locate all accounts and funds connected to Defendants, Defendants' online

                marketplace accounts or Defendants' websites, including, but not limited to, any

                accounts connected to the information listed in Schedule A hereto and the email

                addresses identified in Exhibit 2 to the Declaration of Robert Andrew Ffrench; and

             b. Restrain and enjoin such accounts from receiving, transferring or disposing of any

                money or other of Defendants' assets until further ordered by this Court.

       12.      Plaintiff may provide notice of these proceedings to Defendants, including notice

of the preliminary injunction hearing and service of process pursuant to Fed.R.Civ.P. 4(f)(3), by

electronically publishing a link to the Complaint, this Order and other relevant documents on a

website or by sending an e-mail to the e-mail addresses identified in Exhibit 2 to the Declaration

of Robert Andrew Ffrench and any e-mail addresses provided for Defendants by third parties that

includes a link to said website. The Clerk of Court is directed to issue a single original summons

in the name of “Foshan city star rubber products co., LTD and all other Defendants identified in

the Complaint" that shall apply to all Defendants. The combination of providing notice via

electronic publication and e-mail, along with any notice that Defendants receive from

Marketplaces and payment processors, shall constitute notice reasonably calculated under all

circumstances to apprise Defendants of the pendency of the action and afford them the

opportunity to present their objections.

       13.      Plaintiff's Schedule A to the Complaint, Exhibit 2 to the Declaration of Robert

Andrew Ffrench, and this Order shall remain sealed until Defendants' financial accounts are

restrained. Plaintiff shall file unsealed versions of the Complaint, Schedule A to the Complaint,

Exhibit 2 to the Declaration of Robert Andrew Ffrench, and this Order using the CM/ECF system

prior to the expiration of this Order.
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       14.     Plaintiff shall deposit with the Court Ten Thousand Dollars ($10,000.00), either

cash, cashier’s check or surety bond, as security, which amount was determined adequate for the

payment of such damages as any person may be entitled to recover as a result of a wrongful restraint

hereunder.

       15.     Any Defendants that are subject to this Order may appear and move to dissolve or

modify the Order on two days' notice to Plaintiff or on shorter notice as set by this Court.


       This Temporary Restraining Order without notice is entered at 9:00 A.M. on June 1,

2020, and shall remain in effect for fourteen (14) days.


                                       _____________________________________
                                       U.S. District Court Judge
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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 ROBERT ANDREW FFRENCH,

         Plaintiff,                                              Civil Action No.: 1:20-cv-03178

 v.                                                              Judge Matthew F. Kennelly

 THE PARTNERSHIPS AND UNINCORPORATED                             Magistrate Judge Jeffrey Cummings
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

         Defendants.

                                   NOTICE OF MOTION

        PLEASE TAKE NOTICE that on Monday, June 29, 2020 at 9:25 a.m., Plaintiff, by its

counsel, shall appear telephonically, before the Honorable Judge Matthew F. Kennelly in

Courtroom 2103 at the U.S. District Court for the Northern District of Illinois, 219 South

Dearborn Street, Chicago, Illinois, and present Plaintiff’s Motion for Entry of a Preliminary

Injunction.

DATED: June 19, 2020                                Respectfully submitted,

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt (Bar No. 6207971)
                                                    Keith Vogt, Ltd.
                                                    111 West Jackson Boulevard, Suite 1700
                                                    Chicago, Illinois 60604
                                                    Telephone: 312-675-6079
                                                    E-mail: keith@vogtip.com

                                                    ATTORNEY FOR PLAINTIFF

                               CERTIFICATE OF SERVICE

        I hereby certify that on June 19, 2020, I will electronically file the foregoing with the
Clerk of the Court using the CM/ECF system, I will electronically publish the documents on a
website, and I will send an e-mail to the e-mail addresses identified in Exhibit 2 to the
Declaration of Robert Andrew Ffrench and any e-mail addresses provided for Defendants by
third parties that includes a link to said website.
                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt
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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 ROBERT ANDREW FFRENCH,

          Plaintiff,                                           Civil Action No.: 1:20-cv-03178

 v.                                                            Judge Matthew F. Kennelly

 THE PARTNERSHIPS AND UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.

                           PRELIMINARY INJUNCTION ORDER

         THIS CAUSE being before the Court on Plaintiff, ROBERT ANDREW FFRENCH’s

(“Ffrench” or “Plaintiff”), Motion for a Preliminary Injunction, and this Court having heard the

evidence before it hereby GRANTS Plaintiff’s Motion for Entry of a Preliminary Injunction in its

entirety against the defendants identified in Schedule A (collectively, the “Defendants”).

         THIS COURT HEREBY FINDS that it has personal jurisdiction over the Defendants since

the Defendants directly target their business activities toward consumers in the United States,

including Illinois. “In the context of cases like this one, that means a plaintiff must show that each

defendant is actually operating an interactive website that is accessible in Illinois and that each

defendant has aimed such site at Illinois by standing ready, willing and able to ship its counterfeit

goods to customers in Illinois in particular (or otherwise has some sufficient voluntary contacts

with the state).” Am. Bridal & Prom Indus. Ass’n v. P’ships & Unincorporated Ass’ns Identified

on Schedule A, 192 F.Supp.3d 924, 934 (N.D. Ill. 2016). In this case, Plaintiff has presented

screenshot evidence that each Defendant Internet Store is reaching out to do business with Illinois

residents by operating one or more commercial, interactive Internet Stores through which Illinois

residents can and do purchase products using counterfeit versions of Plaintiff’s Trademarks. See


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Docket No. 12 which includes screenshot evidence confirming that each Defendant Internet Store

does stand ready, willing and able to ship its counterfeit goods to customers in Illinois bearing

infringing and/or counterfeit versions of the SHOTLOC trademarks, U.S. Trademark Registration

Nos. 4,218,495 and 6,023,219 (collectively “The SHOTLOC Trademarks”).

        THIS COURT FURTHER FINDS that injunctive relief previously granted in the

Temporary Restraining Order (“TRO”) should remain in place through the pendency of this

litigation and that issuing this Preliminary Injunction is warranted under Federal Rule of Civil

Procedure 65. Evidence submitted in support of this Motion and in support of Ffrench’s previously

granted Motion for a Temporary Restraining Order establishes that Ffrench has a likelihood of

success on the merits; that no remedy at law exists; and that Ffrench will suffer irreparable harm

if the injunction is not granted.

        Specifically, Ffrench has proved a prima facie case of trademark infringement because (1)

the SHOTLOC Trademarks are distinctive marks and are registered with the U.S. Patent and

Trademark Office on the Principal Register, (2) Defendants are not licensed or authorized to use

the SHOTLOC Trademarks, and (3) Defendants’ use of the SHOTLOC Trademarks are causing a

likelihood of confusion as to the origin or sponsorship of Defendants’ products with Ffrench.

Furthermore, Defendants’ continued and unauthorized use of the SHOTLOC Trademarks

irreparably harms SHOTLOC through diminished goodwill and brand confidence, damage to

SHOTLOC’s reputation, loss of exclusivity, and loss of future sales. Monetary damages fail to

address such damage and, therefore, Ffrench has an inadequate remedy at law. Moreover, the

public interest is served by entry of this Preliminary Injunction to dispel the public confusion

created by Defendants’ actions. Accordingly, this Court orders that:




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1.      Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

        and all persons acting for, with, by, through, under or in active concert with them be

        temporarily enjoined and restrained from:

        a. using the SHOTLOC Trademarks or any reproductions, counterfeit copies or

            colorable imitations thereof in any manner in connection with the distribution,

            marketing, advertising, offering for sale, or sale of any product that is not a

            genuine SHOTLOC product or not authorized by Ffrench to be sold in

            connection with the SHOTLOC Trademarks;

       b.   passing off, inducing, or enabling others to sell or pass off any product as a

            genuine SHOTLOC product or any other product produced by Ffrench, that is

            not Ffrench’s or not produced under the authorization, control or supervision

            of Ffrench and approved by Ffrench for sale under the SHOTLOC Trademarks;

       c.   committing any acts calculated to cause consumers to believe that Defendants'

            products are those sold under the authorization, control or supervision of

            Ffrench, or are sponsored by, approved by, or otherwise connected with

            SHOTLOC;

       d.   further infringing the SHOTLOC Trademarks and damaging Ffrench’s

            goodwill;

       e.   otherwise competing unfairly with Ffrench in any manner;

       f.   shipping, delivering, holding for sale, transferring or otherwise moving, storing,

            distributing, returning, or otherwise disposing of, in any manner, products or

            inventory not manufactured by or for Ffrench, nor authorized by Ffrench to be




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            sold or offered for sale, and which bear any of the SHOTLOC Trademarks or

            any reproductions, counterfeit copies or colorable imitations thereof;

       g.   using, linking to, transferring, selling, exercising control over, or otherwise

            owning the Online Marketplace Accounts, or any other online marketplace

            account that is being used to sell or is the means by which Defendants could

            continue to sell Counterfeit/Infringing SHOTLOC products; and

       h.   operating and/or hosting at the Online Marketplace Accounts and any other

            online marketplace accounts registered or operated by Defendants that are

            involved with the distribution, marketing, advertising, offering for sale, or sale

            of any product bearing the SHOTLOC Trademarks or any reproductions,

            counterfeit copies or colorable imitations thereof that is not a genuine

            SHOTLOC product or not authorized by Ffrench to be sold in connection with

            the SHOTLOC Trademarks.

2.      Those in privity with Defendants and with actual notice of this Order, including any online

        marketplaces such as, but not limited to Amazon, (collectively, "Marketplaces"), social

        media platforms, Facebook, YouTube, LinkedIn, Twitter, Internet search engines such as

        Google, Bing and Yahoo, shall within three (3) business days of receipt of this Order:

            a. disable and cease providing services for any accounts through which

                Defendants engage in the sale of counterfeit and infringing goods using the

                SHOTLOC Trademarks, including any accounts associated with the

                Defendants listed in Schedule A;




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            b. disable and cease displaying any advertisements used by or associated with

                Defendants in connection with the sale of counterfeit and infringing goods

                using the SHOTLOC Trademarks; and

            c. take all steps necessary to prevent links to the Defendant Online

                Marketplace Accounts identified in Schedule A from displaying in search

                results, including, but not limited to, removing links to the Online

                Marketplace Accounts from any search index.

3.      Defendants and any third party with actual notice of this Order who is providing services

        for any of the Defendants, or in connection with any of Defendants' Online Marketplace

        Accounts or other websites operated by Defendants, including, without limitation, any

        online marketplace platforms such as Marketplaces, advertisers, Facebook, Internet

        Service Providers ("ISP"), web hosts, back-end service providers, web designers,

        sponsored search engine or ad-word providers, banks, merchant account providers,

        including PayPal, Alipay, Western Union, third party processors and other payment

        processing service providers, shippers, and online marketplace registrars (collectively, the

        "Third Party Providers") shall, within five (5) business days after receipt of such notice,

        provide to Ffrench expedited discovery, including copies of all documents and records in

        such person's or entity's possession or control relating to:

            a. The identities and locations of Defendants, their agents, servants,

               employees, confederates, attorneys, and any persons acting in concert or

               participation with them, including all known contact information;

            b. the nature of Defendants' operations and all associated sales and financial

               information, including,      without    limitation,     identifying   information


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               associated with the Online Marketplace Accounts, and Defendants' financial

               accounts, as well as providing a full accounting of Defendants' sales and

               listing history related to their respective Online Marketplace Accounts;

            c. Defendants' websites and/or any Online Marketplace Accounts;

            d. The Defendant Online Marketplace Accounts registered by Defendants; and

            e. Any financial accounts owned or controlled by Defendants, including their

               agents, servants, employees, confederates, attorneys, and any persons acting

               in concert or participation with them, including such accounts residing with

               or under the control of any banks, savings and loan associations, payment

               processors or other financial institutions, including, without limitation,

               Amazon, PayPal, Alipay, Western Union, or other merchant account

               providers, payment providers, third party processors, and credit card

               associations (e.g., MasterCard and VISA).

4.      Defendants and any persons in active concert or participation with them who have actual

        notice of this Order shall be temporarily restrained and enjoined from transferring or

        disposing of any money or other of Defendants' assets until further ordered by this Court.

5.      eBay, Inc. (“eBay”), PayPal, Inc. ("PayPal"), Context Logic, Inc. (“WISH”), Amazon

        Payments, Inc. (“Amazon”), Alipay US, Inc. and its entities (“Alipay”), Alibaba Group

        Holding Limited (“Alibaba”), and Heguang International Limited or Dunhuang Group

        d/b/a DHGATE, DHGate.com, DHPORT, DHLINK and DHPAY (“DHGate”), shall,

        within two (2) business days of receipt of this Order, for any Defendant or any of

        Defendants' Online Marketplace Accounts or websites:




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        a. Locate all accounts and funds connected to Defendants, Defendants' Online

            Marketplace Accounts or Defendants' websites, including, but not limited to, any

            eBay, PayPal, WISH, Amazon, Alipay, Alibaba and DHGate accounts

            connected to the information listed in Schedule A hereto or the email addresses

            identified in Exhibit 2 to the Declaration of Robert Andrew Ffrench; and

         b. Restrain and enjoin any such accounts or funds that are non-U.S. foreign based

            from transferring or disposing of any money or other of Defendants' assets until

            further ordered by this Court.

6.      Any banks, savings and loan associations, payment processors, or other financial

        institutions, for any Defendant or any of Defendants' Online Marketplace Accounts or

        websites, shall within two (2) business days of receipt of this Order:

            a. Locate all accounts and funds connected to Defendants, or Defendants'

            Online Marketplace Accounts, including, but not limited to, any accounts

            connected to the information listed in Schedule A hereto or the email addresses

            identified in Exhibit 2 to the Declaration of Robert Andrew Ffrench; and

         b. Restrain and enjoin such accounts from receiving, transferring or disposing of

            any money or other of Defendants' assets until further ordered by this Court.

7.    Ffrench may provide notice of these proceedings to Defendants, including notice of the

        preliminary injunction hearing and service of process pursuant to Fed.R.Civ.P. 4(f)(3), by

        electronically publishing a link to the Complaint, this Order and other relevant documents

        on a website, or by sending an e-mail to the e-mail addresses identified in Exhibit 2 to the

        Declaration of Robert Andrew Ffrench and any e-mail addresses provided for Defendants

        by third parties that includes a link to said website. The Clerk of Court is directed to issue


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        a single original summons in the name of “Foshan city star rubber products co., LTD and

        all other Defendants identified in Complaint” that shall apply to all Defendants. The

        combination of providing notice via electronic publication and e-mail, along with any

        notice that Defendants receive from Online Marketplace Accounts and payment processors,

        shall constitute notice reasonably calculated under all circumstances to apprise Defendants

        of the pendency of the action and afford them the opportunity to present their objections.

8.     Any Defendants that are subject to this Order may appear and move to dissolve or modify

       the Order on two days' notice to Ffrench or on shorter notice as set by this Court.

9.     The $10,000 bond posted by Ffrench shall remain with the Court until a Final disposition of

       this case or until this Preliminary Injunction is terminated.


Dated: June 24, 2020


                                      _____________________________________
                                      U.S. District Court Judge




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                            SCHEDULE A

        No.                           DEFENDANTS
          1   Foshan city star rubber products co., LTD
          2   Huiyang Kangde Silicone Rubber Ware Co., Ltd.
          3   Shenzhen Mingli Toys Manufacturing Co., Ltd.
          4   Shanghai Maikuan Sporting Goods Co., Ltd.
          5   Nanjing Bewe Int'l Trading Co., Ltd.
          6   Shenzhen Qing Yu Rubber And Plastic Product Co., Ltd.
          7   Shenzhen Royal Silicone Product Co., Ltd.
          8   Xiamen Xinmingxiang Import & Export Co., Ltd.
          9   Easy Buy Online
         10   liang jialiang's store
         11   Toplander Outdoor Store
         12   Digital-Camo Sales Store
         13   Gnome Store
         14   DREAMHUNTER- Store
         15   SHAOERS Store
         16   Super Online Technology Co., Ltd
         17   Hiton Outdoor Store Store
         18   Youthful Sporting & Entertainment Store
         19   Loving Adventure Store
         20   Johnny Pro Store
         21   LEMZONE OutdoorSports Store
         22   Exercise&Healthy Store
         23   Water & Horsing Sporting Store
         24   Gmarty VIP Store
         25   exercise&keep fit Store
         26   GSTL Online Store
         27   TAVIEW FIT Store
         28   BD 4sport Store
         29   LLL Outdoor Store
         30   True Thus Store
         31   Outdoor ideas Store
         32   Wild Natures Store
         33   Affordable Outdoor Fitness Store
         34   Complete Outdoor Fitness Store
         35   EMPHY Shop
         36   Shenzhen MiHan Technology Company
         37   Rain force

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          38   Nice Evening
          39   Hinseryo
          40   Heybe Co.,Ltd
          41   dexing
          42   Jiadi US
          43   Hapyd59
          44   Richeal8
          45   Sunlightpower
          46   Zw_network
          47   Sportmill
          48   Miluoshi
          49   Luckygirl17
          50   Buildourdream
          51   shootingbrake
          52   Yiamia
          53   Hunterjungle
          54   Cfgs
          55   6hk7243
          56   7hk8918
          57   aiyamore
          58   allstar-seller
          59   bigvip8018
          60   blingquality
          61   blingzingshop
          62   clother_trade
          63   conceitzhang
          64   cybernowa
          65   dragonball-fourth
          66   e-suggestion
          67   electron365
          68   felif-7
          69   flowersbud
          70   flowersgrass
          71   fuszww
          72   global_village
          73   gmallselection
          74   greenteatime2016
          75   gxnws78793_1
          76   halishio


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          77   happyvalley009
          78   hftndbkn-3
          79   hulushop2010
          80   infinite.force22
          81   jewelry-base
          82   jfdxfybq-0
          83   kzyu_17
          84   li-lang-da-fiath
          85   lifestore777
          86   little.apple2014
          87   luganomart
          88   lxh688
          89   mrzo_33
          90   myeshopdealstore
          91   new-mall
          92   olahema00
          93   pfkn-59
          94   picturesque-landscape
          95   ppptyiad_6
          96   qualityitemsseller123
          97   queensny2018
          98   rasgswkgflgq45
          99   rocm84
         100   rookie-xu
         101   shalo-3238
         102   shoppingeveryday
         103   soptoptrade2015
         104   tgsbuys
         105   trs-seller2012
         106   tsbuynow
         107   vesny89735-6
         108   whemyqong5
         109   whitedaisy666
         110   wonderfulbuying36588
         111   xiaochali0
         112   yaloofashion
         113   yanggerpt
         114   zhifei-82
         115   zhome2015


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         116   I Love Baby Store
         117   Tomtopone Wholesale
         118   fashionnews
         119   LDU supermarket
         120   Touch you qiu
         121   bigbossgood
         122   runfaster
         123   Clumsy bear
         124   Blingblingring
         125   xiexiaoyufishlove
         126   dixiaolang111
         127   whaleuncle




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